      Case 1:14-cv-00209-SPB Document 294-1 Filed 01/10/18 Page 1 of 4



                                                        EXHIBIT “A”


                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY              )
COMPANY, L.L.C.                          )
                                         )
            Plaintiff/Counter-Defendant, )       Case No. 1:14-CV-209
                                         )       Magistrate Judge
PENNSYLVANIA INDEPENDENT                 )       Susan Paradise Baxter
OIL & GAS ASSOCIATION                    )
                                         )
            Plaintiff-Intervenor         )
                                         )
      v.                                 )
                                         )       GRANT TOWNSHIP’S
                                         )       CROSS-MOTION FOR SUMMARY
GRANT TOWNSHIP,                          )       JUDGMENT
                                         )
                                         )
                                         )
            Defendant/Counter-Plaintiff. )
                                         )       Electronically Filed
_______________________________________)


       GRANT TOWNSHIP’S CROSS-MOTION FOR SUMMARY JUDGMENT


      Grant Township, by and through its undersigned counsel, hereby files this Cross-Motion

for Summary Judgment.

      1. On December 16, 2017, PIOGA filed a Motion for Summary Judgment.

      2. This same date Grant Township is filing an Opposition to PIOGA’s Motion for

         Summary Judgment.

      3. Grant Township incorporates its Opposition to PIOGA’s Motion for Summary

         Judgment by reference in support of its Motion for Summary Judgment.




                                             1
       Case 1:14-cv-00209-SPB Document 294-1 Filed 01/10/18 Page 2 of 4



       4. For the reasons set forth in its Opposition to PIOGA’s Motion for Summary

          Judgment, Grant Township is entitled to Summary Judgment in its favor as to

          PIOGA’s federal equal protection and federal due process claims.

       5. Grant Township files this cross-motion for summary judgment on the claims upon

          which PIOGA has not met or cannot meet its burden, and its Concise Statement of

          Material Facts filed with its Opposition has presented undisputed facts which entitle it

          to judgment as a matter of law.

       6. Grant Township is also entitled to summary judgment in its favor as to PIOGA’s

          claim under the Supremacy Clause because, as this Court has already found, there is

          no private cause of action under the Supremacy Clause.

       7. Finally, Grant Township seeks summary judgment in its favor on, and dismissal of,

          PIOGA’s claim under the Pennsylvania Constitution for the reasons set forth in its

          Opposition.

       For the foregoing reasons, Grant Township respectfully requests that the Court grant

summary judgment in its favor as to Counts I (Supremacy Clause), II (Equal Protection), V

(Procedural due process), and Count VII (Unauthorized by and Contrary to the Pennsylvania

Constitution) of PIOGA’s Complaint, and dismiss those counts with prejudice.


Dated: January 10, 2018.


Respectfully submitted,



For Defendant/Counter-Plaintiff Grant Township:

/s/ Thomas Linzey, Esq.
Thomas Alan Linzey, Esq. (PA 76069)


                                               2
      Case 1:14-cv-00209-SPB Document 294-1 Filed 01/10/18 Page 3 of 4



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                                         3
       Case 1:14-cv-00209-SPB Document 294-1 Filed 01/10/18 Page 4 of 4



                                      Certificate of Service

       I certify that I electronically filed a true and correct copy of the foregoing Grant

Township’s Cross-Motion for Summary Judgment on January10, 2018 using the Court’s

CM/ECF system. The other parties are electronic filing users, and served by the Notice of

Docket Activity.



/s/ Thomas Linzey, Esq.
Thomas Alan Linzey, Esq. (PA 76069)




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